                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

UNITED STATES OF AMERICA

      v.                                CASE NO. 8:08-cr-318-T-27

CHARLES JACKSON FRIEDLANDER


               UNITED STATES’ MOTION TO DISMISS
                AND OPPOSITION TO DEFENDANT’S
              MOTION FOR COMPASSIONATE RELEASE

      The United States opposes Friedlander’s motion for compassionate

release, Doc. 328. Friedlander did not exhaust his administrative remedies, so

this Court should dismiss his motion without prejudice to refiling once he

satisfies the exhaustion requirement. But even if this Court reaches the merits

of his motion, the motion lacks merit, and this Court should deny it.

Friedlander fails to meet his burden in showing that his medical conditions,

most of which were present when this Court sentenced him and are stable,

satisfy the requirements for compassionate release. Nor has he demonstrated,

as he must, that his release would not pose a danger to the public.

                                  Background

      In 2008, Charles Friedlander engaged in a series of online chats with

two different undercover officers posing as parents offering up their children

for sexual abuse. See PSR ¶¶ 8–17. Friedlander chatted with one officer from
February to July 2008, expressing interest in having sex with the officer’s

mentally handicapped, 11-year-old daughter. Id. ¶¶ 16–17. In chats with a

second undercover officer in June and July 2008, Friedlander discussed

stripping the officers’ 10- and 11-year-old sons, hitting them with a belt and

razor strap, and sexually abusing them. Id. ¶¶ 8–11. Eventually, in July 2008,

Friedlander met with the second undercover officer to introduce himself

before meeting with the children. Id. ¶ 15. During that meeting, Friedlander

showed the officer two razor straps, a belt, and a riding crop that Friedlander

intended to use on the boys. Id. Friedlander was then arrested. Id. He was 75

years old at the time. See id. ¶ 62.

       Charles Friedlander was indicted for attempting to persuade, induce,

entice, or coerce a minor into engaging in unlawful sexual activity, in violation

of 18 U.S.C. § 2422(b). Doc. 8. He was convicted after a trial by jury. Doc.

263. This Court sentenced Friedlander to 360 months’ imprisonment. Doc.

292.

       This Court, recognizing that Friedlander was 79 years old and had

health problems at the time of sentencing, was mindful that its sentence was

“likely to result in [Friedlander’s] dying in prison.” Doc. 304 at 81, 84. (Even

before his arrest, Friedlander had been diagnosed with Type II diabetes,

hypertension, hyperlipidemia, degenerative disc disease, gout, a cardiac




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abnormality, colitis, postherpetic neuralgia, an enlarged prostate, anxiety, and

depression. See PSR ¶¶ 70–74.) Moreover, this Court found that Friedlander

posed a danger the public: it rejected the notion that Friedlander’s conduct

was mere fantasizing as “nonsense” and concluded that his conduct evidenced

the threat he posed to “other, real children.” Doc. 304 at 78–80, 83.

      Friedlander, whose projected release date is in 2035, now seeks

compassionate release. See Doc. 328; see also Exhibit A at 1 (sentencing

computation data).

                                   Argument

      A district court, upon a motion filed by either the Director of the

Bureau of Prisons (“BOP”) or a defendant, may reduce the defendant’s

sentence when “extraordinary and compelling reasons” warrant such a

reduction. 18 U.S.C. § 3582(c)(1)(A)(i). Examples of qualifying “extraordinary

and compelling reasons” include the defendant’s suffering from a terminal

illness, the defendant’s suffering from a serious medical condition that

substantially diminishes the ability of the defendant to provide self-care in

prison, and the death of the caregiver of the defendant’s minor children. See

USSG §1B1.13 comment. (n.1). Even when an extraordinary and compelling

reason exists, however, a court should only grant a motion for release if it

determines that the defendant is not a danger to the public. USSG §1B1.13(2).




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And the court must consider, in general, whether the 18 U.S.C. § 3553(a)

factors weigh in favor of release. See 18 U.S.C. § 3582(c)(1)(A); USSG

§1B1.13.

      Previously, only the BOP could file in court a motion for

compassionate release, but the First Step Act amended the provision to allow

defendants to file such a motion as well. See First Step Act of 2018, 115 P.L.

391, § 603(b)(1). Before a defendant may file a motion, however, either (a) the

defendant must have “fully exhausted all administrative rights to appeal a

failure of the Bureau of Prisons to bring a motion on the defendant’s behalf,”

or (b) 30 days must have lapsed since the receipt of such a request by the

warden of the prison. 18 U.S.C. § 3582(c)(1)(A). The failure to have exhausted

administrative remedies within the BOP is fatal to a defendant’s motion for

compassionate release. United States v. Estrada Elias, 2019 WL 2193856, at *2

(E.D. Ky. May 21, 2019); accord United States v. Elgin, 2019 U.S. Dist. LEXIS

86571, *2–3 (N.D. Ind. May 23, 2019); cf. United States v. Alexander, 609 F.3d

1250, 1260 (11th Cir. 2010) (holding that a prisoner may seek judicial review

of BOP’s sentencing calculations only after exhausting administrative

remedies).

      Here, Friedlander failed to exhaust his administrative remedies within

the BOP. Friedlander filed a request for compassionate release on June 11,




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2019, see Exhibit B, which the prison warden denied on June 21, see Exhibit C.

But a request denied by the warden may be appealed through the

administrative remedies program. 28 C.F.R § 571.63(a); see also Exhibit C

(explaining Friedlander’s right to appeal the denial). BOP records do not

reflect that Friedlander filed such an appeal. And a court may not entertain a

motion for compassionate release absent that appeal (or a 30-day lapse from

such an appeal), Elgin, 2019 U.S. Dist. LEXIS 86571, at *3, because only a

denial at the level of either the BOP’s director or general counsel constitutes a

“final administrative decision” that may not be further appealed within the

administrative remedies program, 28 C.F.R. § 571.63(b), (d). Friedlander cites

an earlier April 2019 denial of his request for compassionate release (on a

different basis) from his unit team, see Doc. 328 at 5, but that denial is also not

at the level of a final administrative decision, see 28 C.F.R. § 571.63(d).

Because Friedlander failed to exhaust his administrative remedies, this Court

should dismiss his motion.

      But even if this Court entertains Friedlander’s motion, it should deny

the motion on the merits. A defendant seeking compassionate release bears the

burden of establishing that release is warranted. United States v. Heromin, 2019

WL 2411311, at *2 (M.D. Fla. June 7, 2019); cf. United States v. Hamilton, 715

F.3d 328, 337 (11th Cir. 2013) (holding that a movant for a reduction under




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section 3582(c)(2) bears the burden to establish a reduction is warranted).

Friedlander simply lists various medical conditions, without any supporting

documentation or analysis as to how these conditions qualify as extraordinary

and compelling reasons for his release. According to BOP’s medical staff,

Friedlander’s medical issues are largely stable or managed with medication,

and he is able to walk independently and often does so. See Exhibit D. And,

given that this Court was aware of Friedlander’s health conditions when it

sentenced him, see Doc. 304 at 81, 84; PSR ¶¶ 70–74, those health conditions

are not extraordinary developments that now justify a radically shorter

sentence.

      Finally, Friedlander has not shown that he no longer poses a danger to

children. Friedlander cites a psychologist who concludes that Friedlander is

unlikely to reoffend because, in essence, (a) Friedlander’s offense consisted

only of “fantasizing,” and (b) people in their eighties are not likely to commit

sex offenses. Doc. 328 at 2–3. But the notion that Friedlander had merely

fantasized about abusing children is at odds with the facts in this case. See PSR

¶ 15. Indeed, this Court specifically rejected that notion as “nonsense.” Doc.

304 at 78; see also id. at 79–80. And whatever general correlation there may be

between age and likelihood of committing sex offenses, Friedlander was well

into his seventies when he attempted to abuse children. See PSR ¶ 62. This




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Court concluded at sentencing, at which point Friedlander was 79 years old,

that Friedlander posed a danger to children. Doc. 304 at 83. No reason exists

now to conclude otherwise, and his motion should be denied.

                                 Conclusion

      For these reasons, the United States requests that this Court dismiss

Friedlander’s motion based on his failure to exhaust his administrative

remedies. Should this Court reach the merits of his motion, the United States

requests that this Court find him ineligible for compassionate release and deny

the motion.

                                       Respectfully submitted,

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                         CERTIFICATE OF SERVICE

       I hereby certify that on July 8, 2019, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will send a

notice of electronic filing to the following:

       Joseph Parrish, Esq.




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